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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                            Case No. 1:23-cr-20121

v.                                                           Honorable Thomas L. Ludington
                                                             United States District Judge
FREDY ALONZO POOT-NAAL,

                  Defendant.
_______________________________________/

           ORDER DENYING DEFENDANT’S HYBRID MOTION FOR BOND
       In February 2023, Defendant Fredy Alonzo Poot-Naal was charged by indictment with one

count of reentry of a removed alien, 8 U.S.C. § 1326(a), ECF No. 1, and then consented to

detention pending trial, ECF No. 7. Two months later he pleaded guilty to the charge. ECF Nos.

15; 17; 18. A sentencing hearing is scheduled for July 26, 2023. ECF No. 19.

       Although Defendant is represented by court-appointed counsel, see ECF Nos. 3; 5, he filed

a pro se motion for bond on June 13, 2023, ECF No. 20.

       By simultaneously proceeding pro se and through counsel, Defendant is proceeding in a

“hybrid” fashion. E.g., United States v. Marin, 597 F. Supp. 3d 1162, 1163 (E.D. Mich. 2022); see

McKaskle v. Wiggins, 465 U.S. 168, 183 (1984). Although the Sixth Amendment guarantees

defendants the right to conduct their own defense and even to represent themselves, see Faretta v.

California, 422 U.S. 806, 819–20 (1975), the right of self-representation does not include the right

to proceed in a hybrid fashion, McKaskle, 465 U.S. at 183; see United States v. Mosely, 810 F.2d

93, 97–98 (6th Cir. 1987). Because Defendant filed a hybrid motion, it will be denied. United

States v. Trout, 596 F. Supp. 3d 965, 967 (E.D. Mich. 2022). Defendant should seek relief from

this Court through his court-appointed attorney, Mr. Elias Escobedo.
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     Accordingly, it is ORDERED that Defendant’s Motion for Bond, ECF No. 20, is

DENIED.


     Dated: June 14, 2023                  s/Thomas L. Ludington
                                           THOMAS L. LUDINGTON
                                           United States District Judge




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